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                    IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA (READING)
IN RE:
ELFRIDO MATEO                                                  BK. No. 18-18455-ref
                                                         :
AKA ELFRIDO MANUEL MATEO
                                                         :
LIZETTE MATEO                                                  Chapter No. 7
                                                         :
AKA LIZETTE LATORRE
                                                         :
                    Debtors
                                                         :
                                                         :
WELLS FARGO BANK, N.A.
                                                         :
                    Movant                                     11 U.S.C. §362
                                                         :
               v.
                                                         :
ELFRIDO MATEO
                                                         :
AKA ELFRIDO MANUEL MATEO
                                                         :
LIZETTE MATEO
                                                         :
AKA LIZETTE LATORRE
                                                         :
               and
                                                         :
LYNN E. FELDMAN, ESQUIRE (TRUSTEE)
                    Respondents

   MOTION OF WELLS FARGO BANK, N.A. FOR RELIEF FROM AUTOMATIC STAY
       UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by ELFRIDO MATEO AND LIZETTE MATEO.

               1.      Movant is WELLS FARGO BANK, N.A.

               2.      ELFRIDO MATEO AND LIZETTE MATEO are the owners of the premises

located at 616 N 16TH STREET, ALLENTOWN, PA 18102 NKA 616 N 16TH STREET,

ALLENTOWN, PA 18102-2018, hereinafter known as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Movant wishes to institute foreclosure proceedings on the mortgage because of

Debtors' failure to make the monthly payment required hereunder.

               5.      The foreclosure proceedings to be instituted were stayed by the filing of the

instant Chapter 7 Petition.

               6.      As of January 21, 2019, the principal balance owed on the loan is $95,868.54.

               7.      Interest in the amount of $5,444.63 has accrued since the application of the last

payment received from the Debtors.
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               8.      In addition, the following charges, fees and costs have been added to the

balance of the loan and are due and owing to Movant: Accrued Late Charges in the amount of

$108.24, Escrow Advance in the amount of $1,499.66, and Non-sufficient funds (NSF) fees in the

amount of $60.00, less Suspense in the amount of $125.00.

               9.      As of January 21, 2019, the payoff due on the mortgage is $102,856.07.

               10.     Debtors have failed to tender payments for the months of April 2018 through

January 2019. The monthly payments for April 2018 through December 2018 are $1,013.09 each, the

monthly payment for January 2019 is $1,122.16, with accrued late charges in the amount of $108.24,

plus NSF fees in the amount of $60.00, less suspense in the amount of $125.00. The next payment is

due on or before February 1, 2019 in the amount of $1,122.16.

               11.     As of January 21, 2019, the contractual arrearage is $10,283.21.

               12.     Movant, WELLS FARGO BANK, N.A., requests the Court award

reimbursement in the amount of $931.00 for the legal fees and costs associated with this Motion.

               13.     Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               14.     Respondent, LYNN E. FELDMAN, Esquire, is the Trustee appointed by the

Honorable Court.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      Modifying the Automatic Stay under Section 362 with respect to 616 N 16TH

STREET, ALLENTOWN, PA 18102 NKA 616 N 16TH STREET, ALLENTOWN, PA 18102-

2018 (as more fully set forth in the legal description attached to the Mortgage of record granted against

the Premises), as to allow Movant, its successors and assignees, to proceed with its rights under the
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terms of said Mortgage; and

              b.      Granting any other relief that this Court deems equitable and just.

                                                    /s/ Jerome Blank, Esquire
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